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                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007

                                                      June 5, 2020


Via ECF
The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Ali Sadr Hashemi Nejadin, 18 Cr. 224 (AJN)

Dear Judge Nathan:

        The Government respectfully submits the enclosed application for an order of nolle
prosequi of the Indictments filed in this case against Ali Sadr Hashemi Nejadin (“Sadr”) and
Bahram Karimi. The Court is familiar with disclosure-related issues that arose during the March
2020 trial as well as in pre- and post-trial motion practice, including with respect to pretrial
suppression litigation. In light of those issues; our recognition that Sadr would have pursued
different investigative, litigation, and trial strategies had the disclosures been made; the need for
continued litigation about suppression issues and the potential for suppression of evidence; and
the resources that would be required to address all of these issues and to proceed with the
prosecution, the Government has determined that it would not be in the interests of justice to
further prosecute this case.

       Should the Court desire any further information, I will be available to respond.



                                                            Respectfully submitted,


                                                               /s/     ________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                                                            GEOFFREY S. BERMAN
                                                            United States Attorney

Enclosure

Cc:    Defense Counsel (via ECF)
